                               APPEAL NO. 25-1079

                                       IN THE

                  United States Court of Appeals
                            for the Eighth Circuit

                             CLAUDIA RUSS ANDERSON,
                                                                Petitioner-Appellant,
                                         v.

                OFFICE OF THE COMPTROLLER OF THE CURRENCY,
                                                      Respondent-Appellee.

                  ON PETITION FOR REVIEW OF THE FINAL ORDER
                    OF THE COMPTROLLER OF THE CURRENCY
                                 NO. AA-EC-2019-81



     BRIEF OF PETITIONER CLAUDIA RUSS ANDERSON

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                           SUMMARY OF THE CASE

      This administrative proceeding stems from allegations of “Sales Practices

Misconduct” at Wells Fargo as far back as 2002 but focusing on the 2013-16

timeframe. The years-long process culminated in a final decision by the

Comptroller of the Currency finding that Ms. Russ Anderson, as group risk officer,

engaged in “unsafe or unsound” banking practices, misled bank examiners, and

violated 18 U.S.C. §§1001 and 1517. The Comptroller imposed a $10 million civil

money penalty against Ms. Russ Anderson and a prohibition on her future

participation in the industry.

      The Comptroller and his agency erred grievously. They applied no known

rules when they accused Ms. Russ Anderson of, for example, failing to “credibly

challenge” her superiors. They improperly assumed consumer protection powers

by holding that an “unsafe” or “unsound” banking practice need not risk the

financial integrity of the institution. And they impermissibly doubled the monetary

penalty after Ms. Russ Anderson chose to defend herself. Worse, they never should

have adjudicated this case. Ms. Russ Anderson was entitled to an Article III court

and a jury of her peers because the government prosecuted her for alleged

violations of law and sought to deprive her of her life’s savings and life’s work.

The Court should vacate the unconstitutional proceedings in their entirety. Thirty

minutes of oral argument are respectfully requested.

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                      JURISDICTIONAL STATEMENT

      Claudia Russ Anderson was an “institutional-affiliated party” of Wells Fargo

Bank N.A., over which the Office of the Comptroller of the Currency (OCC) is the

“appropriate Federal banking agency.” 12 U.S.C. §§1818, 1813. The Comptroller

served his final decision and order under 12 U.S.C. §1818(h)(1) on December 17,

2024 (sealed) and January 14, 2025 (redacted). On January 15, 2025, Ms. Russ

Anderson timely filed a Petition for Review pursuant to 12 U.S.C. §1818(h)(2) and

Federal Rule of Appellate Procedure 15(a). Jurisdiction is proper because the

Bank’s “home office” is in Sioux Falls, South Dakota. 12 U.S.C. §1818(h)(2).




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                            STATEMENT OF ISSUES

      *The full text of 12 U.S.C. §1818, the statute governing federal depository

institutions, is included in the Addendum. Add.1352-1375.

      1.     Does a failure to answer questions one was not asked violate 18

   U.S.C. §§1001 and 1517?

      Apposite Authorities:

      Bronston v. United States, 409 U.S. 352 (1973).
      In re Seidman, 37 F.3d 911 (3d Cir. 1994).

      2.     Is the government prohibited from retroactively applying for purposes

   of punishment rules newly invented in an adjudication?

      Apposite Authorities:

      SEC v. Chenery Corp., 332 U.S. 194 (1947) (Chenery II).

      3.     Can banking practices be “unsafe or unsound” if they do not risk the

   financial soundness of the institution or the safety of its deposits?

      Apposite Authorities:

      Gulf Fed. Sav. & Loan Ass’n of Jefferson Par. v. Fed. Home Loan Bank Bd.,
      651 F.2d 259 (5th Cir. 1981).

      12 U.S.C. §1818.




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   4.     Is Ms. Russ Anderson entitled to an Article III court to adjudicate

allegations she violated federal criminal laws, and others sounding in common

law and equity?

   Apposite Authorities:

   SEC v. Jarkesy, 603 U.S. 109 (2024).

   Tull v. United States, 481 U.S. 412 (1987).

   U.S. Const. art. III, §2.

   5.     Is Ms. Russ Anderson entitled to have a jury adjudicate the $10

million civil money penalty, the prohibition order, or both, because such

remedies are legal in nature and involve her private rights?

   Apposite Authorities:

   Jarkesy, 603 U.S. 109.

   U.S. Const. amend. VII.

   6.     Are settlement payments to regulators “financial loss” under the

statute, and does harm to customers “prejudice” the “interests of ... depositors”

if the harm is unrelated to the safety of their deposits?

   Apposite Authorities:

   Gulf Federal, 651 F.2d 259.




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   7.    Is a new proceeding warranted because the agency excluded

exculpatory evidence and committed procedural errors?

   Apposite Authorities:

   Drukker Commc’ns, Inc. v. NLRB, 700 F.2d 727 (D.C. Cir. 1983).

   Quick v. Donaldson Co., Inc., 90 F.3d 1372 (8th Cir. 1996).

   U.S. Const. amend. V.

   8.    Did the agency exceed its authority to “compromise, modify, or

remit” a penalty proposed in the Notice of Charges when it doubled the civil

money penalty a year into the proceeding?

   Apposite Authorities:

   MCI Telecommunications Corp. v. Am. Tel. & Tel. Co., 512 U.S. 218
   (1994).

   Yates v. United States, 574 U.S. 528 (2015).

   Union Pac. R. Co. v. U.S. Dep’t of Homeland Sec., 738 F.3d 885 (8th Cir.
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   Oberstar v. FDIC, 987 F.2d 494 (8th Cir. 1993).




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                         STATEMENT OF THE CASE

      Factual and Procedural Background

      Claudia Russ Anderson spent 36 years in the banking industry, all with

Wells Fargo and its predecessor banks. Much of her early career involved credit; in

2002, she became the Chief Credit Officer for Community Banking. In 2004, Ms.

Russ Anderson became the Group Risk Officer for the Community Bank

(“Bank”)—the largest unit under the umbrella of Wells Fargo. She reported to

Executive Vice President Carrie Tolstedt, head of the Bank, and to Chief Risk

Officer Michael Loughlin. App._[A.R.576_at_27]; Add.1223. She was never part

of the Bank’s “C suite”; she attended only two company board meetings her entire

career. App._[A.R.495 (Tr.9450:8-15)].

      In 2012, Ms. Russ Anderson began leading the Sales Quality Team.

App._[R.Exh.879_at_4]. In that capacity, she increased efficiencies, staffing, and

technology to proactively monitor, detect, and investigate sales practices.

App._[A.R.495 (Tr.9251:11-9252:11), A.R.495 (Tr.9282:16-9285:22)];

App._[OCC.Exh.2376_at_17]. The new processes detected significant potential

“sales practice misconduct” (SPM) in the Los Angeles-Orange County (LAOC)

area. App._[A.R.495 (Tr.8584:14-19)]. This included “simulated funding” of

accounts or opening accounts without customer consent, all to give the appearance

of additional sales.

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      Thirty-four Bank employees were terminated after the resulting

investigation. App._[OCC.Exh.1998U_at_4]; App._[R.Exh.1115] (email from

examiner crediting Bank’s team for uncovering the SPM); App._[OCC.Exh.1299]

(report of events). A total of 240 team members were ultimately fired or

voluntarily resigned after a broader investigation. App._[OCC.Exh.1998U_at_5].

The Los Angeles Times published a series of articles in late 2013 detailing the

“fake accounts scandal” that Ms. Russ Anderson and her team uncovered.

App._[OCC.Exh.644; R.Exh.5250; OCC.Exh.1299]. These articles captured the

attention of the L.A. City Attorney, who sued Wells Fargo on May 4, 2015, under

California’s consumer protection statutes. App._[OCC.Exh.1684].

      That lawsuit, in turn, caught the attention of regulators. Martin Pfinsgraff,

Senior Deputy Comptroller of Large Bank Supervision at OCC, asked why bank

examiners had not detected the sales practices issues. App._[R.Exh.14584_at_2].

The examiners sent the Bank a supervisory letter, explaining the “lawsuit”

prompted new supervision. App._[OCC.Exh.1239_at_1]. In notes of their May 14,

2015, meeting with Bank employees, the lead examiner “explained that the recent

news article resulted in calls from DC where the team had to put together

information that was given to folks in DC. Following review of this data, DC

wanted more.” App._[OCC.Exh.1734_at_1].



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      Although nothing immediately came of these examinations, the Consumer

Financial Protection Bureau (CFPB) filed a regulatory action against Wells Fargo.

App._[R.Exh.12077_at_1]. Unable to sit by, OCC joined suit. On September 8,

2016, the Bank settled with all regulatory authorities. App._[A.R.576_at_117];

Add.1313. The politicians in D.C., however, couldn’t get enough of the story.

During a September 20, 2016, Senate Banking Committee hearing, they chastised

the Comptroller about OCC’s supposedly inadequate supervision. Two days later,

national media quoted House Financial Services Chair Jeb Hensarling opining that

“OCC was asleep at the switch” and “must be held accountable.”

App._[R.Exh.1218]. Facing this pressure, OCC issued an Order of Investigation to

the Bank. App._[R.Exh.1141].

      By November 2016, Ms. Russ Anderson was under investigation. On

September 6, 2019, OCC formally informed her it was “considering whether to

institute administrative enforcement action.” App._[R.Exh.19335]. On January 23,

2020, OCC’s Enforcement Counsel initiated this action, filing a 100-page, 474-

paragraph Notice of Charges (“NOC”) against Ms. Russ Anderson and four other

Bank officers. App._[A.R.576_at_6-7]; Add.1202-03. OCC accused Ms. Russ

Anderson of making false and misleading statements, breaching fiduciary duties,

and engaging in other “unsafe or unsound practice[s]” in conducting the business

of the Bank, in violation of 12 U.S.C. §1818, the statute governing federal
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depository institutions. It sought a $5 million civil money penalty and a prohibition

order forbidding her future participation in the banking industry.

      Two months before the scheduled administrative hearing, the Administrative

Law Judge (ALJ) summarily found 363 facts that Ms. Russ Anderson disputed

were “undisputed” and “resolved” them against her over counsel’s objections.

App._[A.R.576_at_10]; Add.1206. A four-month hearing followed, producing over

ten thousand transcript pages, tens of thousands more pages of exhibits, thousands

of pages of cumulative briefing, a 443-page recommended decision by the ALJ,

and a 155-page Final Decision by the Comptroller of the Currency. The Final

Decision imposed a $10 million civil penalty against Ms. Russ Anderson and

entered an order of prohibition. The Comptroller assessed these penalties even

though they would wipe out Ms. Russ Anderson’s entire life’s savings,1 and

notwithstanding her otherwise unblemished thirty-six-year career.




      1
        Ms. Russ Anderson’s net worth is approximately $4.9 million, about what
one would expect after a thirty-six-year career earning at peak $350,000-$400,000
in salary. App._[A.R.495 (Tr.3353:17-3355:10)]; App._[A.R.495 (Tr.9485:16)];
App._[R.Exh.20974]. Many of her stock options were clawed back.
App._[A.R.495 (Tr.4048:22-23)]. The statute requires consideration of her
“financial resources,” 12 U.S.C. §1818(i)(2)(G)(i), making the penalty improper.
See Part VII.

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      Statutory Framework and Findings

      A civil money penalty can only be imposed if the institution-affiliated party

engaged in certain types of misconduct, which caused a relevant effect. A penalty

can be imposed if the party (1) (I) “violates any law or regulation,” (II) “recklessly

engages in an unsafe or unsound practice in conducting the affairs of such insured

depository institution,” or (III) “breaches any fiduciary duty”; and (2) such a

“violation, practice, or breach (I) is part of a pattern of misconduct; (II) causes or is

likely to cause more than a minimal loss to such depository institution; or (III)

results in pecuniary gain or other benefit to such party.” 12 U.S.C. §1818(i)(2)(A)-

(B). The first requirement is the “misconduct” prong of the analysis; the second is

the “effects” prong.

      Regarding misconduct, the Comptroller found that Ms. Russ Anderson had

violated federal law by lying to examiners, specifically violating 18 U.S.C. §§1001

and 1517. App._[A.R.576_at_80, 99]; Add.1276, 1295. Section 1001(a) prohibits

“knowingly and willfully” falsifying or concealing material facts or making

materially false statements to any federal officer. Section 1517 criminally punishes

anyone who “corruptly obstructs or attempts to obstruct any examination of a

financial institution by” the relevant agency.

      The Comptroller declined to find Ms. Russ Anderson breached fiduciary

duties. App._[A.R.576_at_149-50]; Add.1345-46. The Comptroller found,
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however, that Ms. Russ Anderson “recklessly” engaged in various “unsafe or

unsound practice[s].” The Comptroller concluded that the same omissions or

misrepresentations constituted unsafe or unsound banking practices. He further

found that Ms. Russ Anderson failed to provide “credible challenge” to her

superiors, to implement successful controls, and to escalate matters to her

superiors. App._[A.R.576_at_29-80, 94-99]; Add.1225-76, 1290-95.

      As for the “effects” prong, the Comptroller acknowledged that no pecuniary

gain resulted. App._[A.R.576_at_103]; Add.1299. He found, however, a “pattern

of misconduct” causing loss to the financial institution because of payments Wells

Fargo made to settle with regulators and customers. App._[A.R.576_at_100-03];

Add.1296-99.

      A prohibition order similarly requires misconduct and a relevant effect. The

misconduct prong is identical, except omits the requirement of “recklessness” in

engaging in unsafe practices. 12 U.S.C. §1818(e)(1)(A) (the misconduct prong).

This recklessness requirement is replaced by a “culpability” provision that requires

finding either “personal dishonesty” or “willful or continuing disregard” on Ms.

Russ Anderson’s part “for the safety or soundness” of the institution. 12 U.S.C.

§1818(e)(1)(C). The Comptroller found that the same misconduct justified a

prohibition order. App._[A.R.576_at_29-80, 94-99]; Add.1225-76, 1290-95.



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      The effects prong differs slightly: the institution must have “suffered or will

probably suffer financial loss or other damage,” “the interests of the insured

depository institution’s depositors have been or could be prejudiced,” or the party

received a pecuniary or other benefit “by reason of” the misconduct. 12 U.S.C.

§1818(e)(1)(B) (the effects prong). The Comptroller additionally found that the

interests of depositors were prejudiced. App._[A.R.576_at_86-90]; Add.1282-86.

      The Comptroller erred across the board. These allegations and penalties

should never have been adjudicated before a biased agency whose employees were

seeking a scapegoat to cover their own failures under pressure from “D.C.” Ms.

Russ Anderson now appeals.

                          SUMMARY OF ARGUMENT

      Ms. Russ Anderson is innocent. OCC accused her, and found her guilty, of

lying to bank examiners. Yet when each alleged instance is examined, OCC

complains that she failed to volunteer answers to questions she was never asked.

That is not a violation, and certainly not a “willful” or “corrupt” violation, of

federal laws prohibiting false statements.

      The government’s enforcement action was also flawed because no known

rule established that failing to “credibly challenge” or to “escalate” to one’s

superiors constitutes an unsafe or unsound banking practice. OCC’s handbooks

provide that the Board must credibly challenge senior management, including the

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Chief Risk Officer to whom Ms. Russ Anderson reported, and that senior

management must create processes for escalation. An agency cannot invent rules

and apply them retroactively to deprive someone of vested liberty and property

interests. SEC v. Chenery Corp. (Chenery II), 332 U.S. 194, 203 (1947) (if “the ill

effect of the retroactive application of a new standard” is greater than the

“mischief” to be prevented, the retroactivity “is condemned by law”).

      Nor could the agency create such rules if it wanted: the challenged conduct

in no way threatened the “financial integrity” of the Bank or created a federal

“insurance risk.” Gulf Fed. Sav. & Loan Ass’n of Jefferson Par. v. Fed. Home

Loan Bank Bd., 651 F.2d 259, 264 (5th Cir. 1981). The agency impermissibly

assumed consumer protection powers it does not possess.

      Nor should the agency have heard this case, which involves Ms. Russ

Anderson’s private rights to liberty and property. For that reason alone, she was

entitled to a real court and jury. It also involves alleged federal criminal law

violations. The unsafe or unsound practices allegations sound in the law of

negligence. The Supreme Court recently held similar claims required an Article III

court and jury, and do not involve “public rights” that may be exclusively

determined by the executive branch. SEC v. Jarkesy, 603 U.S. 109 (2024).

      Other errors warrant vacatur. The Comptroller erroneously concluded that

settlement payments constituted “financial loss” under the statute and that the
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“interests of ... depositors” were prejudiced though their deposits were perfectly

safe. The agency routinely excluded exculpatory evidence, including OCC reports

suggesting examiners already knew information they claimed Ms. Russ Anderson

omitted, and an email from a lead examiner agreeing with an article characterizing

the agency’s harassment of the Bank as an “amazing overreaction” and “regulatory

abuse.” And, contrary to law, the agency doubled the monetary penalty under its

modest authority to “compromise, modify, or remit” a penalty proposed in the

NOC, which permits modifying such a penalty downward, not upward—and

certainly not doubling it.

        The Court should vacate the order in its entirety and free Ms. Russ Anderson

from her decade-long nightmare.

                                   ARGUMENT

        This Court should vacate the Comptroller’s order. Ms. Russ Anderson

committed no cognizable misconduct; the monetary penalty must be adjudicated

by a court and jury; the prohibition order is unconstitutional and unlawful; and the

ALJ and Comptroller committed numerous other errors.

I.     Standard of Review

        The APA governs review. 12 U.S.C. §1818(h)(2). The Court reviews all

legal questions de novo. 5 U.S.C. §706; Iowa League of Cities v. EPA, 711 F.3d



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844 (8th Cir. 2013); Loper Bright Enterprises v. Raimondo, 603 U.S. 369, 413

(2024). It reviews factual questions for substantial evidence. §706(2).

II.     Ms. Russ Anderson did not violate 18 U.S.C. §§1001 and 1517.
         The misconduct allegations are meritless. OCC claims Ms. Russ Anderson

lied to bank examiners or intentionally misrepresented material matters. The

Comptroller concluded that making these alleged misrepresentations constituted

unsafe or unsound practices as well as violated 18 U.S.C. §§1001(a) and 1517,

satisfying two misconduct prongs of 12 U.S.C. §§1818(e) and (i).

         The Comptroller made four findings in this regard. None persuades. With

one exception, OCC accused Ms. Russ Anderson and found her guilty of not

volunteering information for which she was not asked. “[M]ere silence in the face

of an unasked question” is insufficient for liability under section 1001 (and

necessarily under section 1517). United States v. Dale, 782 F. Supp. 615, 626

(D.D.C. 1991); cf. also Bronston v. United States, 409 U.S. 352, 362 (1973)

(“Precise questioning is imperative as a predicate for the offense of perjury.”). In

Bronston, the Court held that “any special problems arising from the literally true

but unresponsive answer are to be remedied through the ‘questioner’s acuity’ and

not by a federal perjury prosecution.” Id. Here, Ms. Russ Anderson’s statements

were not only literally true, but also responsive.



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      Nor is failing to volunteer information for which one was not asked

“recklessly” committing unsafe or unsound banking practices or doing so with

“personal dishonesty” as required by 12 U.S.C. §§1818(e)(1)(C)(i) and

(i)(2)(B)(i)(II). The Third Circuit specifically held there was no liability under the

statute for a “failure to volunteer information” where the agency “never directly

asked [one] the questions it now charges [one] with evading.” In re Seidman, 37

F.3d 911, 937 n.38 (3d Cir. 1994).

      Ms. Russ Anderson does not deny the accuracy of the bank examiner’s

notes. The Comptroller simply inexplicably omitted what she was asked in the

interviews. The question becomes whether the undisputed facts amount to a

violation of law—that is, whether failing to answer questions one is not asked is a

“willful” or “corrupt” misrepresentation or an unsafe or unsound practice. The

answer is no.

      A.     Terminations.
      First, OCC alleged (and found) that Ms. Russ Anderson lied about the scope

of terminations at the Bank for SPM. The Comptroller found Ms. Russ Anderson

“was aware that 1,000 or more employees were terminated every year for SPM,”

but she “initially referenced” to the examiners “that 30 employees were terminated

and later that an additional 160 terminations were reported, for a total of 190

terminations for SPM.” App._[A.R.576_at_31-32]; Add.1227-28. “Failing to

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provide accurate information about this material issue during the OCC

examinations,” the Comptroller concluded, “constituted an unsafe or unsound

practice” and “violated both 18 U.S.C. §§1517 and 1001(a).”

App._[A.R.576_at_33, 80, 99]; Add.1229, 1276, 1295.

      The examiner’s meeting notes, however, which provided the entire basis for

this finding, puts the lie to the accusation. The entire discussion concerned the L.A.

Times article about SPM in Los Angeles and the L.A. County Attorney lawsuit. In

the very bullet where Ms. Russ Anderson gave the relevant number, she was

talking about the “Los Angeles-Orange County (LAOC) region,” where Corporate

Investigations “found a number of team members in the 30+ range [who] admitted

to simulated-funding.” App._[OCC.Exh.1734_at_1]. That statement was true.

App._[OCC.Exh.1299_at_2]. She later reported additional team members who

were fired in that region. App._[OCC.Exh.1734_at_2] (“Additional 160

terminations were bankers and tellers.”). She was not asked about total

terminations everywhere across all time—information that OCC already possessed.

App._[R.Exh.826_at_6]; App._[A.R.495 (Tr.2673:25-2675:25)];

App._[OCC.Exh.1438_at_1]; App._[R.Exh.952_at_1-2]. Nor would such

information have been particularly remarkable; 1,000 terminations constituted a

tiny fraction of the total workforce and would not have been unusual for a bank the

size of Wells Fargo. App._[R.Exh.16387_at_1].
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      The Comptroller also inexplicably accuses Ms. Russ Anderson of denying

“she had a duty to be transparent on this topic,” citing to a portion of the trial

transcript in which she was asked about a May 19, 2015, memorandum written by

the Bank’s general counsel. App._[A.R.576_at_32 & n.20]; Add.1228 & n.20. The

Comptroller omitted her explanation: the memorandum was only about the LAOC

investigation. App._[A.R.495 (Tr.9867:16-9870:19)]; App._[OCC.Exh.1299]

(May 19, 2025, memorandum).

      B.     Sales pressure.

      Second, OCC alleged (and found) that Ms. Russ Anderson lied to bank

examiners about her knowledge of sales pressures leading to SPM.

App._[A.R.576_at_33-35]; Add.1229-31. The Comptroller focused on the portion

of the examiner’s notes in which Ms. Russ Anderson was asked, “Any dialogue

with Personal Bankers who indicate they are under pressure?”

App._[OCC.Exh.1734_at_4]. Ms. Russ Anderson answered, according to the

notes, that she “doesn’t hear that at all” and she has “been at leadership summits

and people are positive and pleased with what they hear and feel,” but not

everybody is “pristine.” Id. She added that “[t]hey don’t have volume of negative

activity,” but there are “unsavory characters,” which is “the reason for detective

and preventative controls.” Id. The Comptroller accuses Ms. Russ Anderson of

lying because “both the record evidence and her hearing testimony confirm that

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[she] had knowledge that sales pressure relating to SPM was a problem before the

2015 examinations.” App._[A.R.576_at_34]; Add.1230. From this observation the

Comptroller concludes that Ms. Russ Anderson “knowingly misled the OCC about

a material issue.” App._[A.R.576_at_35, 80, 99]; Add.1231, 1276, 1295.

      But that changes the subject. Ms. Russ Anderson was not asked about sales

pressure generally. She was asked about her dialogues with personal bankers. The

Comptroller cites no contrary evidence of any such dialogues. Moreover, the

examiners were asking Ms. Russ Anderson the question as of the 2015

examination date, and by then she and others were hearing good things given the

steady reduction in sales goals. App._[R.Exh.16147_at_9]; App._[A.R.495

(Tr.3596:14-3598:20)]; App._[A.R.495 (Tr.4961:19-4962:2)]. The Comptroller

cannot take a specific question about personal dialogues in 2015 (or that was at

least vague as to time) and accuse Ms. Russ Anderson of failing to answer a

different question about a different subject pertaining to a different time.

      C.     Sales goals.

      Third, OCC alleged (and found) that Ms. Russ Anderson lied to investigators

when she said that employees were not fired for failing to meet sales goals. At the

hearing, Ms. Russ Anderson emphasized that she had said no one was ever fired

solely for failing to meet such goals. App._[A.R.576_at_36]; Add.1232. The

Comptroller determined that Ms. Russ Anderson had changed her story and never

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made that qualification during the initial examinations. App._[A.R.576_at_37];

Add.1233 (“[N]or is there any evidence that she ever informed the OCC examiners

of this qualification.”); App._[A.R.576_at_38]; Add.1234 (relying on ALJ’s

determination that it was “false” to claim she had qualified her answer). The

Comptroller concluded that “informing the OCC during the examination that

employees were not terminated for not meeting sales goals was a knowing and

material misrepresentation, which constituted an unsafe or unsound practice” and

“violated both 18 U.S.C. §§1517 and 1001(a).” App._[A.R.576_at_39, 80, 99];

Add.1235, 1276, 1295.

      Even a cursory look at the examiners’ summary, however, reveals that Ms.

Russ Anderson said the following: “Regarding sales goals, Ms. Russ Anderson

stated that team members do have referral and sales goals but meeting these is only

part of the review and evaluation process.” App._[OCC.Exh.1735_at_2] (emphasis

added). What, exactly, are we doing here?2




      2
      The ALJ even accused her lawyers of dishonesty because they pursued this
argument. See App._[OCC.Exh.1943_at_2]; App._[A.R.534_at_185]; Add.938.
The Comptroller relatedly accuses Ms. Russ Anderson of failing “to correct a




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      D.     Thresholds.

      Fourth, the Comptroller found that Ms. Russ Anderson “failed to disclose

the thresholds used in proactive monitoring.” App._[A.R.576_at_40-42];

Add.1236-38. Ms. Russ Anderson had informed the bank examiners about

proactive monitoring processes, but did not specifically tell them what proportion

of all potentially problematic accounts were sent for further investigation.

App._[A.R.576_at_55]; Add.1251. Crediting a bank examiner’s testimony, the

Comptroller “rejected the idea that the OCC had to use the specific word

‘thresholds’ in order to get this information.” App._[A.R.576_at_41]; Add.1237.

He thus concluded Ms. Russ Anderson’s “failure to disclose this information

constituted an unsafe or unsound practice,” and “violated both 18 U.S.C. §§1517

and 1001(a).” App._[A.R.576_at_42, 80, 99]; Add.1238, 1276, 1295.

      In this regard, this alleged omission is similar to the others: the Comptroller

found Ms. Russ Anderson failed to volunteer information, and to guess what

information the examiners deemed relevant. Obviously, not every potentially




statement made during the meeting with the OCC” by two other Bank employees
to the effect that the incentive plan “is not a requirement for keeping your job.”
App_[A.R.576_at_36]; Add.1232; App_[OCC.Exh.1771_at_2]. That statement
was consistent with what Ms. Russ Anderson herself told the examiners. There was
nothing to correct.
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problematic account can be investigated without infinite resources. Ms. Russ

Anderson did, nevertheless, respond to the question about how simulated funding

is detected by stating her group “uses analytics with exact filters.”

App._[OCC.Exh.1734_at_2]. If the examiners had wanted to know about what

analytics and what exact filters, why didn’t they ask?

      In sum, Ms. Russ Anderson did not willfully or corruptly conceal material

information or provide materially false information. “[M]ere silence in the face of

an unasked question” cannot establish liability. Dale, 782 F. Supp. at 626. “Precise

questioning is imperative as a predicate for the offense of perjury.” Bronston, 409

U.S. at 362. Nor is such silence an unsafe or unsound banking practice. In re

Seidman, 37 F.3d at 937 n.38.

III. Ms. Russ Anderson did not engage in unsafe or unsound banking
      practices.
      The Comptroller further found that Ms. Russ Anderson “recklessly

engage[d] in an unsafe or unsound practice in conducting the affairs” of her

institution under 12 U.S.C. §1818(i)(2)(B)(i)(II) (money penalty), and “engaged”

in such unsafe or unsound practices with personal dishonesty or reckless disregard

under 12 U.S.C. §1818(e)(1)(A)(ii) (prohibition). App._[A.R.576_at_91-99];

Add.1287-95. To the extent such claims are based on alleged misrepresentations,

they have absolutely no basis for the reasons stated above.


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      Nor is there any basis to conclude Ms. Russ Anderson engaged in other

unsafe or unsound banking practices, for two reasons.

      First, no law, regulation, or precedent established that what Ms. Russ

Anderson did was unsafe or unsound. Second, there is a reason no such rules exist:

because none of the conduct in question threatens the financial safety or soundness

of the institution, as required by the statute.

      A.     No existing rule prohibited Ms. Russ Anderson’s conduct.

      The Due Process Clause provides, “No person shall ... be deprived of life,

liberty, or property, without due process of law.” U.S. Const. amend. V. A central

requirement of the clause is that there be law before the government can deprive

someone of life, liberty, or property. Nathan S. Chapman and Michael W.

McConnell, Due Process as Separation of Powers, 121 Yale L.J. 1672, 1679

(2012); 1 William Blackstone, Commentaries on the Laws of England 45 (1765).

      In the administrative context, this principle is governed by Chenery II. The

Supreme Court upheld an agency’s decision to require the disgorgement of certain

stock purchases by management, even though no law or regulation applied,

because a reorganization plan was pending. “The absence of a general rule or

regulation governing management trading during reorganization did not affect the

Commission’s duties in relation to the particular proposal before it.” 332 U.S. at

201. The Commission still had “to grant or deny effectiveness” to the

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reorganization plan. Id.; but see id. at 216 (Jackson, J., dissenting) (decrying the

“Commission’s assertion of power to govern the matter without law”).

      The majority made clear, however, that “retroactivity must be balanced

against the mischief of producing a result which is contrary to a statutory design or

to legal and equitable principles.” 332 U.S. at 203. Only “[i]f that mischief is

greater than the ill effect of the retroactive application of a new standard, it is not

the type of retroactivity which is condemned by law.” Id.

      The courts have, for example, prohibited retroactivity when the new rule

contradicts a previously established rule. See, e.g., Retail, Wholesale and Dep’t

Store Union, AFL-CIO v. NLRB, 46 F.2d 380 (D.C. Cir. 1972). In De Niz Robles v.

Lynch, then-Judge Gorsuch explained that retroactive application was more

suitable in backward-looking decisions settling the rights of parties. 803 F.3d 1165,

1170 (2015). (“[F]or civil society to function the people need courts to provide

backward-looking resolutions for their disputes.”).

      Here, unlike in Chenery II, there is nothing left to “undo,” and no dispute

between Ms. Russ Anderson and the Bank requires adjudicating their respective

rights. The ill effects of retroactively depriving Ms. Russ Anderson of liberty and

property for the sole purpose of punishment far outweigh any possible benefits of

applying new rules to her case.



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      Applying this framework, the unsafe or unsound practices claims against

Ms. Russ Anderson must be vacated. They were not based on any existing rule.

Retroactivity aside, the absence of established rules strongly suggests that Ms.

Russ Anderson did not engage in unsafe or unsound practices.

             1.    “Credible challenge”

      The Comptroller found that Ms. Russ Anderson recklessly engaged in an

unsafe or unsound practice “by failing to credibly challenge the Bank’s incentive

compensation program.” App._[A.R.576_at_42]; Add.1238. The Comptroller

found that she was, and knew she was, obligated “to credibly challenge her

superiors on the incentive compensation program wherever it failed to properly

balance risk and reward.” App._[A.R.576_at_44]; Add.1240. “Even if her

superiors [already] knew about the unreasonable sales goals and SPM, that

knowledge would not have relieved her of her responsibility to credibly challenge

the unreasonable sales goals.” App._[A.R.576_at_50]; Add.1246. According to the

Comptroller, Ms. Russ Anderson “should have challenged the Community Bank’s

business model, advocated for a formal policy that employees could not be fired

for failing to meet sales goals, sought to withhold incentive compensation credit

for accounts of dubious origins, and advocated for tighter controls on new

accounts.” Id. Even if her superiors already knew about the issues, the Comptroller

reiterated—and even if she had no control over sales goals, App._[A.R.495

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(Tr.4538:19-4539:1), A.R.495 (Tr.4551:25-4552:9)]—that would not “absolve

[Russ] Anderson from her obligation to credibly challenge them to change the

incentive compensation program.” App._[A.R.576_at_51-52]; Add.1247-48.

      No law or rule, however, provides that a non-executive commits unsafe or

unsound banking practices by failing to “credibly challenge” her superiors about

policies over which she lacks control. The only OCC document that defines

“credible challenge”—the OCC’s Corporate Risk and Governance Handbook—

emphasizes the Board’s responsibility to challenge management.

App._[R.Exh.18439_at_14] (“[The] board is responsible for … providing credible

challenge to management.”); App._[R.Exh.18439_at_121] (defining “credible

challenge” as “[t]he method that directors use to hold management accountable by

being engaged and asking questions and eliciting any facts necessary, when

appropriate, to satisfy themselves that management’s strategies are viable and in

the bank’s best interests.”).

      The Comptroller instead relied on an internal Bank policy for the proposition

that the group risk officer “was responsible for ‘providing credible challenge to the

businesses they oversee.’” App._[A.R.576_at_43]; Add.1239;

App._[OCC.Exh.1272_at_7]. And he relied on Ms. Russ Anderson’s performance

assessments for the proposition that her job required her to “[p]rovide credible



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challenge to the Community Banking lines of businesses.” App._[A.R.576_at_28];

Add.1224; App._[R.Exh.7256].

      But her own annual performance review does not establish a legal obligation

to provide credible challenge. Nor do a bank’s internal policies. The Comptroller

fashioned a new rule requiring non-executives with no escalation path to the Board

to credibly challenge their superiors, or a new rule providing that unsatisfactorily

performing one’s job according to one’s job description risks legal liability. Such

retroactivity “is condemned by law.” Chenery II, 332 U.S. at 203. Further, the

absence of a relevant rule suggests that Ms. Russ Anderson engaged in no unsafe

or unsound practice.

             2.     Strict liability.

      The Comptroller also found that Ms. Russ Anderson “engaged in unsafe or

unsound practices by failing to institute effective controls to prevent and detect

SPM from 2013 until October 1, 2016, when the Bank eliminated sales goals.”

App._[A.R.576_at_52-53]; Add.1248-49. The Comptroller’s finding was based on

his conclusion that the controls she and the Bank instituted proved to be

ineffective. As group risk officer, Ms. Russ Anderson “had a responsibility to

address the risks from SPM and to institute effective controls. The data

demonstrates that she failed.” App._[A.R.576_at_62]; Add.1258. Although the

Comptroller recognized that Ms. Russ Anderson imposed additional controls as the

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problems with SPM became more apparent, he concluded they “were not effective

at preventing or detecting SPM” because “the sheer amount of SPM alone

demonstrates that no control, or combination of controls, was effective in

managing or even materially improving SPM.” Id.

      Putting aside the Comptroller’s dubious assertion of fact—potential

simulated funding decreased dramatically between 2013 and 2016, from 2.3% to

0.7%, as Ms. Russ Anderson’s team continued to focus on SPM,

App._[OCC.Exh.1636R_at_2]—the Comptroller cited no law or rule for the

proposition that a group risk officer is strictly liable if the controls she imposed

turned out to be ineffective. The Comptroller’s analysis was simply Monday-

morning quarterbacking. It is true that an institution’s risk department must

institute controls, and those controls must meet generally accepted standards. But

the responsibility lies with the Board. App._[R.Exh.18439_at_50] (“The board

should oversee the bank’s risk management system to ensure that the system

identifies, measure, monitors, and controls risks.”). And senior management—

including the Chief Risk Officer, Mr. Loughlin, to whom Ms. Russ Anderson

reported—“is responsible for the implementation, integrity, and maintenance of the

risk management system.” Id.; see also App._[R.Exh.18439_at_5] (defining senior

management). And, as the Comptroller knows but ignores, no system of controls is



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perfect. App._[A.R.495 (Tr.10195:23-10197:1)]; App._[OCC.Exh.2376_at_8 ¶¶

19-20].

      But whoever is responsible, the analysis must be ex ante. Otherwise any

banking scandal would lead to automatic liability for the institution’s risk officers.

Yet the Comptroller made no findings whatsoever as to whether ex ante the

controls in place were unreasonable. He simply presumed that because, according

to him, those controls failed, they must have been inadequate. Inventing a strict

liability rule to punish Ms. Russ Andreson retroactively is impermissible. Chenery

II, 332 U.S. at 203. And the absence of any such rule further suggests Ms. Russ

Anderson did not engage in unsafe or unsound practices.

             3.     “Failure to escalate.”

      The Comptroller additionally found that Ms. Russ Anderson recklessly

engaged in unsafe or unsound practices because she “failed to escalate risk issues

related to SPM.” App._[A.R.576_at_67]; Add.1263. She “repeatedly failed to

escalate known or obvious SPM risks to the individuals in her escalation path and

that she continually downplayed the extent of SPM in the Community Bank.” Id.

Crediting the testimony of Chief Risk Officer Loughlin, the Comptroller concluded

that Ms. Russ Anderson was “generally slow” in addressing SPM and should have

escalated to Loughlin “in a more aggressive way.” App._[A.R.576_at_69];

Add.1265.

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       The Comptroller cited no law or rule, however, specifying that an employee

who is “slow” or not sufficiently “aggressive” commits an unsafe or unsound

practice. OCC’s policy document, specifically the “Corporate and Risk

Governance” chapter of the Comptroller’s Handbook on Safety and Soundness,

provides that the Bank’s directors and senior management are responsible for

developing processes that allow for escalation. App._[R.Exh.18439_at_47]

(“[S]enior management should ... ensure material risk and risk-taking activities

exceeding the risk appetite are recognized, escalated, and addressed in a timely

manner.”); App._[R.Exh.18439_at_48] (“Consistent with the board-approved risk

appetite, senior management should ... establish an escalation process to ensure

that material weakness or problems are escalated to senior management.”);

App._[R.Exh.18439_at_60] (“The CEO and management also are responsible for

ensuring that processes promptly escalate material issues to the board and senior

management.”).

      To repeat, at all times Mr. Loughlin was the Bank’s Chief Risk Officer.

App._[A.R.576_at_22]; Add.1218. The Comptroller’s Handbook specifies that

position as Senior Management. App._[R.Exh.18439_at_5];

App._[OCC.Exh.1908U_at_5]. OCC has not directed Ms. Russ Anderson to any

existing rule that establishes a non-executive under senior management can be



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liable for having engaged in an “unsafe or unsound” practices for failing to escalate

a particular problem.

      It is obvious why no such rule exists. How much escalation is sufficient?

How “slow” is too slow? How “aggressive” is aggressive enough? And how does

one account for the fact that Ms. Russ Anderson had dozens of other issues on her

plate at the time, including the integration of Wachovia Bank and ongoing

regulatory actions stemming from the 2008 financial crisis? App._[A.R.495

(Tr.9269:10-9272:11)]; App._[OCC.Exh.2376_at_40 ¶¶ 94-95]. Such a rule would

be unenforceable. On the other hand, OCC can more easily determine whether a

bank has implemented policies and structures that encourage escalation.

      B.     None of the conduct threatened the financial soundness of the
             institution and so cannot constitute unsafe or unsound practices.

      Retroactivity aside, there is a reason none of the conduct Ms. Russ Anderson

is alleged to have committed has ever been declared an unsafe or unsound practice:

because it does not risk the soundness or safety of the institution, that is, its

financial integrity and stability. The Comptroller erroneously applied a lax

standard, according to which an unsafe or unsound practice includes “any action or

lack of action [that] is contrary to generally accepted standards of prudent

operation, the possible consequences of which, if continued, would be abnormal

risk or loss or damage to an institution, its shareholders, or the agencies


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administering the insurance funds.” App._[A.R.576_at_15 & n.7]; Add.1211 & n.7

(quoting In re Patrick Adams, OCC AA-EC-11-50, 2014 WL 8735096 (OCC Sept.

30, 2014)).

      Yet merely requiring any abnormal “risk” or “loss” or “damage” to the

institution, its shareholders, or the agencies would stretch the statute beyond its

ordinary meaning. Much risk, loss, or damage might have nothing to do with the

financial soundness of the institution, or whether it is safe for depositors. As the

Fifth Circuit long ago held, an unsafe or unsound practice relates to the

institution’s “financial integrity” and to the government’s “insurance risk,” nothing

more. Gulf Federal, 651 F.2d at 264. The Fifth Circuit thus “limit[ed] the ‘unsafe

or unsound practice’ provision to an association’s financial condition.” Id. at 265.

Other courts followed suit. See, e.g., Seidman, 37 F.3d at 928 (“The imprudent act

must pose an abnormal risk to the financial stability of the banking institution.”);

Simpson v. OTS, 29 F.3d 1418, 1425 (9th Cir. 1994) (requiring “reasonably direct

effect on an association’s financial soundness”).

      These courts had it right: A banking institution is “unsafe” or “unsound” if it

lends to risky borrowers, cannot pay its depositors, and has insufficient capital and

liquidity. In what sense does a mere reputational harm for poor customer service—

Wells Fargo will open unnecessary accounts!—risk the safety of existing deposits

or the soundness of the institution? As the Fifth Circuit held, a “‘loss of public
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confidence’ rationale would result in open-ended supervision” and allow the

agency to “enforce the public’s standard of fairness” and to monitor “every activity

of the association in its role of proctor for public opinion.” Gulf Federal, 651 F.2d

at 264-65. That “departs entirely from the congressional concept of acting to

preserve the financial integrity of its members.” Id. at 265.

      As the Fifth Circuit observed, the laxer standard comes verbatim from a

statement the Chairman of the Federal Home Loan Bank Board made to Congress

in 1966. 112 Cong. Rec. 26474 (1966). Yet as the Fifth Circuit noted, “Chairman

Horne listed several practices that fell within his definition,” including “paying

excessive dividends, disregarding a borrower’s ability to repay, careless control of

expenses, excessive advertising, and inadequate liquidity.” Gulf Federal, 651 F.2d

at 264. Those examples involve the financial integrity of the institution, and

whether it is safe for depositors. The Fifth Circuit detected no tension between its

holding and Horne’s dictum. The Fifth Circuit thought Horne’s dictum supported

its reading that the phrase requires a relationship to financial integrity or insurance

risk—the whole point of the federal bank insurance program.

      Other members also stated the obvious. “[I]t should be clear to all that the

cease-and-desist powers and management removal powers are aimed specifically at

actions impairing the safety or soundness of our insured financial institutions.

These new flexible tools relate strictly to the insurance risk and to assure the public
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sound banking facilities.” 112 Cong. Rec. 24984 (Rep. Patman); Gulf Federal, 651

F.2d at 264. That is how proponents of the bill assuaged concerns that the “unsafe

or unsound practice[s]” would be a vague and broad delegation of power to the

agency. Gulf Federal, 651 F.2d at 264.

      This Court has mentioned the Horne version of the standard. See Van Dyke

v. Bd. of Governors of Fed. Rsrv. Sys., 876 F.2d 1377, 1380 (8th Cir. 1989); First

Nat’l Bank of Eden v. Department of the Treasury, 568 F.2d 610, 611 n.2 (8th

Cir.1978). Both cases involved traditional unsafe practices that threatened the

soundness of the institution. Eden involved “criticized assets” and violations of

established regulations regarding “credit.” 568 F.2d at 611.3 Van Dyke involved a

check-kiting scheme by the bank’s president. 876 F.2d at 1378-80. In Greene

County Bank v. FDIC, 92 F.3d 633, 636 (8th Cir. 1996), this Court purported to

prefer the Eden formulation over the Fifth Circuit standard, but the conduct

involved risky investments and qualified under either. This Court has never

addressed the difference where the outcome would change.




      3
       The case also involved deficiencies in internal controls and audit
procedures, but presumably the practices insufficiently controlled and audited
involved the criticized assets and credit problems. The agency also pursued a
cease-and-desist order, suggesting the controls were inadequate ex ante.

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      Under the proper standard, in what sense did SPM risk the “financial

integrity” of the Bank, or create an “insurance risk” for the federal government?

This case is indistinguishable from Gulf Federal: There, the Bank Board sought to

force the bank to refund interest payments erroneously collected from customers.

The bank argued that the regulator was “attempt[ing] to enter the consumer

protection field,” for which there was no statutory authority. 651 F.2d at 261.

      The Fifth Circuit agreed: in no way did collecting more interest than

warranted risk the bank’s “financial integrity” or create “insurance risk.” Id. at 264.

The regulator was impermissibly assuming a “consumer protection” role. To state

the facts of that case is to decide this one. The entire scope of SPM, in which Ms.

Russ Anderson never personally participated, involved at most charging customers

for things they did not need, if they were charged at all. That is a matter of

consumer protection, not financial soundness.

      Even if, somehow, SPM had the potential to impact the financial integrity of

the bank or create an insurance risk, Ms. Russ Anderson’s own actions and

inactions did not. Failing to create escalation paths and audit controls does threaten

a bank’s financial integrity and create insurance risk; but does a personal failure to

escalate matters as aggressively as her supervisors would have, in hindsight,

preferred? When the Board has no serious oversight of management, that risks the



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institution’s financial soundness; but does the failure of a non-executive to

challenge her superiors?

      The monetary and prohibition orders should be vacated.

IV. Ms. Russ Anderson was entitled to have an Article III court and jury
     adjudicate the civil money penalty.

      Both the civil money penalty and the order of prohibition must be vacated

because no misconduct has been shown. The monetary penalty must be vacated for

an additional reason: because an Article III court and jury were required to

adjudicate it.

      A.     The public rights framework.

      Congress may not “withdraw from judicial cognizance any matter which,

from its nature, is the subject of a suit at the common law, or in equity, or

admiralty.” Murray’s Lessee v. Hoboken Land & Imp. Co., 59 U.S. 272, 284

(1856). Matters “involving public rights,” however, “are susceptible of judicial

determination, but which congress may or may not bring within the cognizance of

the courts of the United States, as it may deem proper.” Id. “Public rights” may be

adjudicated “exclusively” by Congress or the executive branch. Jarkesy, 603 U.S.

at 112; Stern v. Marshall, 564 U.S. 462, 493 (2011); N. Pipeline Const. Co. v.

Marathon Pipe Line Co., 458 U.S. 50, 68 (1982).




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      Public rights do not derive from the state of nature but instead from

government grace, or, like natural resources, they belong to the public. Caleb

Nelson, Adjudication in the Political Branches, 107 Colum. L. Rev. 559, 566-67

(2007). On the most widely accepted understanding, the reason such matters can be

determined exclusively in Congress or the executive is sovereign immunity. If the

government denies a public benefit, a wrongly denied individual has no remedy

unless the government waives that immunity. The power to deny consent includes

the lesser power of limiting any judicial review. See N. Pipeline, 458 U.S. at 67-68

(explaining the sovereign immunity rationale); William Baude, Adjudication

Outside Article III, 133 Harv. L. Rev. 1511, 1544 (2020). Although disputes under

public rights schemes “aris[e] under the ... laws of the United States,” U.S. Const.

art. III, §2, cl. 1, they elude the reach of the federal judicial power because without

a waiver of sovereign immunity there is no defendant and therefore no “case”

within the meaning of Article III. See Caleb Nelson, Sovereign Immunity as a

Doctrine of Personal Jurisdiction, 115 Harv. L. Rev. 1559 (2002).

      This framework explains why public benefits like land, patent, and welfare

grants can be adjudicated in the executive branch. Crowell v. Benson, 285 U.S. 22,

51 (1932); United States v. Duell, 172 U.S. 576, 582-83 (1899); Jarkesy, 603 U.S.

at 130. As can tariffs, foreign trade, and immigration matters, which involve public

privileges, not private rights. Ex parte Bakelite Corp., 279 U.S. 438, 446 (1929)
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(tariffs); Dep’t of Homeland Sec. v. Thuraissigiam, 591 U.S. 103, 131 (2020)

(immigration); U.S. ex rel. Turner v. Williams, 194 U.S. 279, 289-90 (1904)

(same); Buttfield v. Stranahan, 192 U.S. 470, 493 (1904) (“no individual has a

vested right to trade with foreign nations”). This framework explains why the

allocation of licenses to transmit over the airwaves—a limited public resource—is

a public right. Red Lion Broad. Co. v. FCC, 395 U.S. 367, 389 (1969).

      Within the scope of some of these public rights categories, some degree of

monetary fines and penalties have traditionally been allowed—but only insofar as

necessary to secure efficient performance of ongoing regulatory obligations. In

Oceanic Steam Navigation Co. v. Stranahan, 214 U.S. 320 (1909), the Supreme

Court upheld the administrative imposition of a monetary fine for bringing into the

country aliens carrying contagious diseases that could have been detected prior to

embarking. The Court distinguished “infamous crime,” which required a court, and

a fine imposed “to secure the efficient performance” of the regulatory “duty.” Id. at

337. In Passavant v. United States, 148 U.S. 214, 221 (1893), the Court upheld

conclusive executive-branch determinations of customs duties, including additional

duties as penalties for undervaluing imports. Such additional duties were “designed

to discourage undervaluation upon imported merchandise.” Id.

      In the modern era, the Supreme Court expanded the scope of public rights to

include certain administrative proceedings where the government seeks monetary
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penalties as punishment for violations of statutory obligations more generally.

Atlas Roofing v. Occup. Safety and Health Rev. Comm’n, 430 U.S. 442 (1977).

That case is irreconcilable with traditional notions of public and private rights, and

the Supreme Court has recently limited its reach. Specifically, in Jarkesy, the Court

explained that Atlas Roofing allowed for a non-Article III adjudication because the

statute “did not borrow its cause of action from the common law.” 603 U.S. at 136.

The relevant standards brought “no common law soil with them,” and rather

“resembled a detailed building code.” Id. The “OSH Act adjudications,” the Court

concluded, could be assigned “to an agency because the claims were ‘unknown to

the common law.’” Id. at 138 (quoting Atlas Roofing, 430 U.S. at 461).

      The Court held that an enforcement action for a civil monetary penalty for

violating the securities laws was a matter of private right because Congress had

“created claims whose causes of action are modeled on common law fraud and that

provide a type of remedy available only in law courts.” Jarkesy, 603 U.S. at 135-

36. The securities laws “target the same basic conduct as common law fraud,

employ the same terms of art, and operate pursuant to similar legal principles.” Id.

at 134.

      Applying the Jarkesy decision, the Fifth Circuit recently held that Article III

applied to a civil monetary penalty against AT&T for violations of section 222 of

the Telecommunications Act. AT&T, Inc. v. FCC, No. 24-60223, 2025 WL
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1135280 (5th Cir. Apr. 17, 2025). Under that provision, telecommunications

carriers had an obligation to protect the confidentiality of “customer proprietary

network information,” and could not “use, disclose, or permit access to” such

information except as necessary to provide telecommunications services. Id. at *1.

Commission regulations further provided that carriers “must take reasonable

measures to discover and protect against attempts to gain unauthorized access to”

such information. Id.

      The Fifth Circuit concluded that the public rights exception did not apply

because “[n]egligence claims against common carriers have been routinely

adjudicated in state and federal courts.” Id. at *7. It held that “the section 222

action is analogous to common law negligence” because it “punishes carriers for

failing to take reasonable measures to protect customers’ personal data.” Id. at *5.

The action “target[s] the same basic conduct” as the common law negligence

claim. Id. at *6 (quoting Jarkesy, 603 U.S. at 125). “[T]he statutory action need not

be ‘identical’ to a common law analogue,” but must merely have a “close

relationship” to it. Id. (quoting Jarkesy, 603 U.S. at 126).

      B.     The public rights exception is inapplicable.
      Applying this legal regime, it is evident that this entire case, and certainly

the civil money penalty, involves private not public rights.



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               1.   Ms. Russ Anderson’s private rights are at stake.

       Ms. Russ Anderson is being deprived of her private property. The $10

million the government seeks—which she does not have and never had—are not

government funds that she has wrongfully withheld from the U.S. treasury. To the

extent she can pay part of the penalty with her entire life’s savings, those savings

belong to her. She even earned that money through private employment that in no

way depended on government. Even if working at a bank could somehow be

described as a public right akin to public employment, that would not change the

nature of any income she had already earned. There is simply no plausible way to

describe her life’s savings as a public privilege. It is her property and none other’s.

       Nor is the penalty here like the small penalties in Oceanic Steam Navigation

and Passavant, imposed contemporaneously with the violations to secure the

efficient performance of and compliance with ongoing regulatory duties. Ms. Russ

Anderson has not been employed at Wells Fargo since February 2017. The alleged

conduct ended in 2016. These enforcement proceedings did not initiate until four

years later.

               2.   Article III courts must adjudicate violations of federal criminal
                    laws outside the regulatory scheme.
       Even if the nature of the right were not dispositive, the nature of the claims

would be. The Comptroller justified the $10 million penalty in part because he


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concluded that Ms. Russ Anderson violated 18 U.S.C. §§1001 and 1517. Counsel

are not aware of any case in which an administrative agency has been permitted to

base a civil monetary penalty on finding a violation of federal criminal laws.

      No one disputes that if the U.S. Attorney had prosecuted Ms. Russ Anderson

for alleged violations of these statutes, she would have been entitled to an Article

III court. The federal judicial power would extend to such a case because it would

“aris[e] under the ... laws of the United States.” Traditional due process protections

would apply, including the jury right. See U.S. Const. art. III, §2, cl. 3 (“The Trial

of all Crimes ... shall be by Jury”).

      If, however, statutes must resemble common law crimes, these do.

Section 1001 requires “knowingly and willfully” making material representations

or omissions, while Section 1517 requires “corruptly” obstructing an examination

of a financial institution. As the Supreme Court held in Morissette v. United States,

regulatory and “public welfare” offenses were distinguished from crimes having

their roots in common law ideas of an “evil-meaning mind.” 342 U.S. 246, 251-58

(1952). Regulatory offenses could dispense with mental states; traditional offenses,

like those which Ms. Russ Anderson has been accused of violating, could not. Id.

at 256-58.




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             3.     The unsafe or unsound practice standard sounds in the law of
                    negligence and fiduciary duties.
      The claim that Ms. Russ Anderson recklessly engaged in unsafe or unsound

practices also sounds in traditional causes of action, for three reasons.

      First, the Comptroller found the same misconduct that constituted violations

of 18 U.S.C. §§1001 and 1571 also constituted unsafe or unsound practices. To

that extent, the unsafe or unsound practices claim sounds in traditional criminal

law, as well as the law of negligent or fraudulent misrepresentation. See

Restatement (Second) of Torts §525 (fraudulent misrepresentation), §550 (liability

for fraudulent concealment), §551 (liability for nondisclosure), §552 (information

negligently supplied).

      Second, the general standard for assessing unsafe or unsound practices is

whether it “is contrary to generally accepted standards of prudent operation.” In re

Adams, 2014 WL 8735096, at *3. This standard is like a breach of fiduciary duty,

which turns on a duty of care measured by what “ordinarily careful and prudent

men would use in similar circumstances,” In re Walt Disney Co. Deriv. Litig., 907

A.2d 693, 749 (Del. Ch. 2005). Fiduciary duties have long been defined by

common law and equity courts. See, e.g., Varity Corp. v. Howe, 516 U.S. 489, 496

(1996) (“fiduciary duties draw much of their content from the common law of




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trusts”); Keech v. Sandford [1726] Sel. Cas. Ch. 61, 25 E.R. 223 (English chancery

decision establishing a trustee’s fiduciary duty of loyalty).

      Third, the standard even more closely parallels negligence. Restatement

(Second) of Torts §283 (“[T]he standard of conduct to which [an actor] must

conform to avoid being negligent is that of a reasonable man under like

circumstances.”). In AT&T v. FCC, the Fifth Circuit recently ruled that section 222

of the Telecommunications Act is analogous to common law negligence because it

“punishes carriers for failing to take reasonable measures to protect customers’

personal data.” 2025 WL 1135280, at *5. So too, here, the standard punishes

institutions and affiliated parties “for failing to take reasonable measures to

protect” the financial integrity of the institution.

      If that were somehow not enough, the Comptroller found—as required by

statute—that Ms. Russ Anderson’s conduct was reckless. App._[A.R.576_at_94];

Add.1290 (conduct “is reckless if it is ‘done in disregard of, and evidencing a

conscious indifference to, a known or obvious risk of a substantial harm.’” (citing

Cavallari v. OCC, 57 F.3d 137, 142 (2d Cir. 1995)). That standard derives from

tort law. Cavallari, 57 F.3d at 142 (citing, e.g., W. Page Keeton et al., Prosser and

Keeton on the Law of Torts §34, at 213 (5th ed. 1984)).




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             4.    Banking and its related common-law rules long predated federal
                   banking laws.
      What is more, negligence standards applied to banking institutions long

before the “unsafe or unsound practice[s]” standard appeared in federal statute.

Prior to 1933, see Banking Act of 1933, ch. 89, §30, 48 Stat. 162, 193-94

(establishing standard), “federal common law had long recognized that officers and

directors of banks ‘must exercise ordinary care and prudence in the administration

of the affairs of a bank.’” Resolution Tr. Corp. v. Heiserman, 839 F. Supp. 1457,

1463 (D. Colo. 1993) (quoting Briggs v. Spaulding, 141 U.S. 132, 165 (1891)).

Courts recognized that “[t]he law governing the duties of directors in financial

institutions is well settled,” and “[t]hey are summoned to the same degree of care

and prudence that men prompted by self-interest generally exercise in their own

affairs.” Kavanaugh v. Gould, 223 N.Y. 103, 105 (1918).

      Astoundingly, the Comptroller insists that “[n]ational banks did not exist at

common law; they are ‘are instrumentalities of the Federal government, created for

a public purpose, and as such necessarily subject to the paramount authority of the

United States.’” App._[A.R.576_at_108]; Add.1304 (quoting Davis v. Elmira Sav.

Bank, 161 U.S. 275, 283 (1896)). The Comptroller confuses banks like the Bank of

the United States and the Federal Reserve, which were and are indeed

instrumentalities of the federal government, with banks that have charters under


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the national banking laws, like Wells Fargo. The Court in Davis held nothing more

than federal banking laws preempt contrary state banking laws. 161 U.S. at 290.

      The right to lend money was not created by the U.S. government; it is as old

as time. See, e.g., Code of Hammurabi §§48, 100 (describing loans and interest

rates); Deuteronomy 23:19-20 (forbidding lending upon interest to fellow

Israelites, but permitting it upon foreigners). The very first bank—the Bank of

England—was a private institution, and remained so until 1946.

https://www.britannica.com/money/Bank-of-England. It “is very clear that at

common law, the right of banking in all of its ramifications, belonged to individual

citizens; and might be exercised by them at their pleasure.” Bank of Augusta v.

Earle, 38 U.S. 519, 595-96 (1839).

      As for Wells Fargo, it “began in business in 1852 as a provider of

stagecoach service, mail delivery, banking services, freight delivery, and passenger

transportation,” long before the first national banking laws. Wells Fargo & Co. v.

United States, 91 Fed. Cl. 35, 45 (2010). And its being chartered today under the

federal banking laws does not sever its historic connection to the common law. The

Supreme Court long ago held that banks with national charters remain “subject to

the laws of the State, and are governed in their daily course of business far more by

the laws of the State than of the nation.” First Nat’l Bank v. Kentucky, 76 U.S. 353,

362 (1869).
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             5.    Determining “unsafe or unsound” practices may involve public
                   rights, but only in the context of cease-and-desist orders and
                   termination of insurance.

      Finding that this case involves private rights would not diminish the

important role OCC performs. A depository institution’s receipt of federal

insurance is a public benefit. Due process applies before the government rescinds

any insurance, but an Article III court would not be required. See, e.g., Goldberg v.

Kelly, 397 U.S. 254 (1970) (requiring due process protections through internal

agency processes for the withholding of welfare benefits).

      Additionally, OCC still promulgates rules fleshing out the “unsafe or

unsound practice[s]” standard, which it can also elaborate by adjudicating cease-

and-desist orders. In the cases the Comptroller cited for the proposition that the

banking statute involves public rights, all dealt with such orders. See Simpson, 29

F.3d at 1423-24 (cease-and-desist proceeding that ordered restitution); Akin v.

OTS, 950 F.2d 1180, 1186 (5th Cir. 1992) (same); Cavallari, 57 F.3d at 145

(recklessly disregarding OCC cease-and-desist order).

      These powers reflect the government’s historic “visitorial” powers upon

corporations. Cuomo v. Clearing House Ass’n, L.L.C., 557 U.S. 519, 525-26

(2009). These powers allow OCC to examine and supervise a bank’s “internal

operations.” Id. at 547. Such powers of examination are distinct from the kinds of

cases that would have been heard in courts to “redress grievances” and “frauds.”

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Id. at 527. So too here: OCC retains its important visitorial powers, and public

benefits are an important feature of the scheme. But when private rights are at

stake, an Article III court is required.

      C.     The Seventh Amendment applies.
      Once it is determined that an Article III court is required, a jury trial does

not always follow. Historically, juries did not apply in admiralty or equity. Courts

must therefore “examine both the nature of the action and of the remedy sought.”

Tull v. United States, 481 U.S. 412, 417 (1987). This requires courts to “compare

the statutory action to 18th-century actions brought in the courts of England prior

to the merger of the courts of law and equity,” and to determine whether the

remedy “is legal or equitable in nature.” Id. at 417-18. The nature of the remedy is

more consequential: “the relief sought is ‘[m]ore important’ than finding a

precisely analogous common-law cause of action.” Id. at 421 (quoting Curtis v.

Loether, 415 U.S. 189, 196 (1974)).

      In Tull, the Court concluded: “A civil penalty was a type of remedy at

common law that could only be enforced in courts of law. Remedies intended to

punish culpable individuals, as opposed to those intended simply to extract

compensation or restore the status quo, were issued by courts of law, not courts of

equity.” Id. at 422. The agency had sought a several-million-dollar penalty for

violations of the Clean Water Act; the Court held a jury was required.

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      More recently in SEC v. Jarkesy, the Court held that a $300,000 monetary

penalty for violation of the securities laws required a jury. The Court found the

remedy “all but dispositive” because the SEC sought “civil penalties, a form of

monetary relief,” which is a “prototypical common law remedy.” 603 U.S. at 123.

Because the monetary penalty was “designed to punish or deter the wrongdoer”

rather than to “restore the status quo,” it was legal rather than equitable. Id. The

Court observed that several of the statutory factors governing monetary penalties

“concern[ed] culpability, deterrence, and recidivism.” Id. at 123-24.

      Once it is determined that an Article III court is required, Tull and Jarkesy

resolve the Seventh Amendment question. The $10 million penalty was designed

to punish Ms. Russ Anderson. That is “all but dispositive” of her claim. 603 U.S. at

123. As in Jarkesy, the statutory factors focus on blameworthiness, namely the

defendant’s “good faith,” the “gravity of the violation,” “the history of previous

violations,” and “other matters as justice may require.” Compare 12 U.S.C.

§1818(i)(2)(G) with 15 U.S.C. §§78u–2(c), 80b–3(i)(3). The cases cited by the

Comptroller, in contrast, involved restitution and restoring the status quo. Simpson,

29 F.3d at 1423-24; Akin, 950 F.2d at 1186; Cavallari, 57 F.3d at 145.

      As noted, the Court also looks to whether the cause of action arose in law or

equity. The Article III analysis demonstrated that the causes of action are criminal

or rooted in negligence; here, moreover, the Comptroller disclaimed any findings
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regarding fiduciary duties (which may be equitable in nature). Additionally, the

wrongdoing of bank directors was historically adjudicated by juries. See, e.g.,

Kavanaugh, 223 N.Y. at 112 (noting a “jury” might have found a bank director’s

various failures were negligent); Preston v. Prather, 137 U.S. 604, 609 (1891)

(jury could determine liability of bank for failure of safe-keeping of deposits);

Davenport v. Prentice, 126 A.D. 451 (N.Y. App. Div. 1908) (bank directors sued

at common law for damages for failure to supervise activities of subordinates).

        In the Seventh Amendment context, the Supreme Court also looks to see if

the matter involves public rights. Jarkesy, 603 U.S. at 127-40. That goes without

saying: if the matter may be determined in the executive branch, an Article III

court is not required, so neither is a jury. As discussed in the previous section, this

case involves private not public rights.

V.     The prohibition order is unconstitutional and unlawful.
        For the reasons described in Parts II and III—there was no misconduct—

both the civil money penalty and the prohibition order must be vacated.

        Two additional reasons require vacating the prohibition order. First, that

order, too, must be adjudicated by an Article III court and jury. Second, the

Comptroller did not find a relevant effect. He erroneously concluded that

regulatory penalties and settlements constituted “financial loss or other damage”

under the statute, and that “the interests of ... depositors” were “prejudiced” even

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though the safety of their deposits was never in question. App._[A.R.576_at_86];

Add.1282. Both require vacating the prohibition order.

      A.     Ms. Russ Anderson was entitled to a jury and court.
      Because the factual bases for both the monetary penalty and the prohibition

overlap, a jury is required to decide all common questions of fact. It is black-letter

law that when there is an “issue common to both the legal and equitable claims,” to

allow the equitable claims to be “finally determined by the court” first would

“deprive[]” the “party seeking trial by jury on the legal claim” his right to a jury

trial on “these common issues.” Dairy Queen, Inc. v. Wood, 369 U.S. 469, 472

(1962). Where “issues are common,” the “legal claims involved in the action must

be determined prior to any final court determination” of the “equitable claims.” Id.

at 470.

      Moreover, an order of prohibition may not be equitable at all. As the

Supreme Court has explained numerous times, both the remedy and the cause of

action must be considered. Tull, 481 U.S. at 417-18; Jarkesy, 603 U.S. at 122-23.

Here, the causes of action sound in criminal and common law. Nor is the remedy

necessarily equitable. It is designed to punish, not restore. Cf., e.g., Proffitt v.

FDIC, 200 F.3d 855, 861 (D.C. Cir. 2000) (holding that a prohibition order is

“punitive” rather than compensatory and is therefore a “penalty” for statute of

limitations purposes).

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      Even if a jury trial were not required for the prohibition order, an Article III

court still would be. After all, courts decide matters of equity, too. Murray’s

Lessee, 59 U.S. at 284. For the reasons discussed previously, this case involves

private and not public rights. That conclusion applies regardless of remedy. To be

sure, if the jury right does not apply, it could be argued that prohibition orders can

be adjudicated by an administrative tribunal. Some degree of fact-finding may be

assigned to an administrative tribunal in narrow circumstances so long as the jury

right is inapplicable. Crowell v. Benson, 285 U.S. 22 (1932).

      Crowell, however, does not apply here. First, the Court in Northern Pipeline

and Stern confirmed that if the cause of action arises in state law or common law, it

must be adjudicated in an Article III court. N. Pipeline, 458 U.S. at 80-82; Stern,

564 U.S. at 493. Congress can only assign to administrative tribunals federal

causes of action for resolution. Stern, 564 U.S. at 493. Here Congress enacted both

18 U.S.C. §§1001 and 1517 but did not provide for resolution of claims arising

under those provisions to an administrative tribunal.

      Second, this is not a situation in which Congress devised an “expert and

inexpensive method for dealing with a class of questions of fact which are

particularly suited to examination and determination by an administrative agency

specially assigned to that task.” Stern, 564 U.S. at 494 (quoting Crowell, 285 U.S.

at 46). This is not a workers’ compensation scheme like Crowell, where the
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commission merely determined the fact and extent of injury and the compensation

to which the worker was entitled. Nor is this a cease-and-desist case. The entire

case involves mental states: personal dishonesty or “willful and continuing

disregard,” that is, wrongdoing. Those are matters for courts, not agencies.

      B.     The Comptroller did not find a legally relevant effect.

      An order of prohibition requires finding that, “by reason of” the misconduct,

the institution “suffered or will probably suffer financial loss or other damage,”

“the interests of the insured depository institution’s depositors have been or could

be prejudiced,” or the party received a pecuniary or other benefit. 12 U.S.C.

§1818(e)(1)(B). The Comptroller found that Ms. Russ Anderson did not obtain any

pecuniary gain by virtue of her conduct. App._[A.R.576_at_90-91]; Add.1286-87.

He found, however, that the institution suffered financial loss or other damage

because it paid various regulators fines and penalties. App._[A.R.576_at_82-83];

Add.1278-79. And he found that the interests of the depositors were prejudiced

because “SPM caused significant harm to customers, including unwarranted

account fees, credit score impacts, and misuse of customers’ personal

information.” App._[A.R.576_at_88]; Add.1284. The prohibition order must also

be vacated because neither is a relevant effect under the statute.




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             1.     Regulatory fines and penalties.

      The Comptroller found that “the Bank paid the following fines, penalties,

fees, and related expenses as a result of its SPM problem,” all of which constituted

“financial loss or other damage” under the statute. App._[A.R.576_at_82];

Add.1278. He then listed the “fines and penalties” paid to OCC, CFPB, and the

Los Angeles City Attorney; to the Attorney General of New York; to the attorneys

general of all fifty states; and to the U.S. Department of Justice, totaling nearly $4

billion. A relatively small $142 million was also paid to settle a class action on

behalf of affected customers.

      The $4 billion in financial “loss” or “damage,” upon which the Comptroller

based his prohibition order, is not a loss or damage within the meaning of the

statute. To include such fines and penalties as loss or damage would render the

statute circular. A regulatory fine or penalty can only be imposed if there is a

relevant effect—that is how the statute assures that regulators will only punish for

relevant conduct. To say that the fines and penalties paid to regulators are losses

under the statute is to beg the very question—whether there were relevant financial

losses or damages such that regulatory fines and penalties could be imposed.

      Nor can OCC claim fines paid to other regulators are a relevant loss under

the statute justifying the imposition of an OCC fine. Otherwise, OCC would be



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able to piggyback off other regulators’ jurisdiction without addressing whether the

financial loss is of the kind that its statute gives it authority to regulate.

       Moreover, the Bank never admitted any wrongdoing. App._[OCC.Exh.631;

OCC.Exh.632]. Banks settle for many reasons. How, therefore, are such

settlements caused “by reason of” the misconduct, if institutions usually settle with

their regulators even if they believe they have done nothing wrong? The

Comptroller cites no case for the proposition that settlements, fines, and penalties

can constitute financial loss or damage under the statute. The relevant financial

loss or damage must be independent of any regulatory penalties or lawsuits; the

acts themselves must cause or risk loss to the institution, as when the Bank makes

faulty loans or officers engage in self-dealing.

              2.     Customer harm.

       Nor does “significant harm to customers, including unwarranted account

fees, credit score impacts, and misuse of customers’ personal information,”

App._[A.R.576_at_88]; Add.1284, count as “prejudice” to the “interests of the ...

depositors.” Those harms involve consumer protection matters beyond the statute’s

reach. Gulf Federal, 651 F.2d at 264-65. OCC’s predecessor agency recognized as

much. To prejudice the interests of depositors, the institution must engage in

conduct that harms the reputation of the institution such that it causes “loss of

confidence to depositors.” In re Cousin, 1994 WL 621240, at *15 (OTS Oct. 11,

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1994). The agency elaborated: the relevant conduct is that which “injures the

reputation of the institution or that otherwise would persuade a depositor that his or

her funds were subject to a substantial risk.” Id. The statute no longer requires

“serious” prejudice, but the funds must still be subject to a “risk.”

      How do “unwarranted account fees, credit score impacts, and misuse of

customers’ personal information” affect the safety or risk of depositors’ deposits?

They don’t. That is why millions of customers continued to open accounts with

Wells Fargo. App._[OCC.Exh.1636R_at_2]. They do cause consumer protection

harms, which is why the Bank settled with its customers under those statutes. But

that has nothing to do with OCC’s jurisdiction. Nor does a general “ero[sion] of

trust,” App._[A.R.576_at_88]; Add.1284, which has nothing to do with deposits.

Gulf Federal, 651 F.2d at 264-65.

      Because the Comptroller has not found any legally relevant effect under the

statute, the prohibition order must be vacated for that reason, too.

VI. Excluding exculpatory evidence and other procedural errors require a
     new proceeding.

      If all else fails, the Court must order a retrial. The ALJ routinely excluded

exculpatory material. “It is repugnant to notions of fairness for the government to

seek sanctions for alleged wrongdoing while withholding from the proceeding




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evidence that would demonstrate innocence.” Drukker Commc’ns, Inc. v. NLRB,

700 F.2d 727, 733 (D.C. Cir. 1983) (Scalia, J.).

      First, the ALJ excluded the “Lessons Learned” report, an internal OCC

report highly critical of the bank examiners responsible for Wells Fargo.

App._[R.Exh.826]; App._[A.R.490]. That report, for example, noted that in 2010

examiners had asked senior management “about the 700 cases of whistleblower

complaints related to gaming of incentive plans.” App._[R.Exh.826_at_6]. It

shows the entire Board and examiners received regular reports “related to sales

integrity violations” since 2005. Id. That suggests examiners already knew what

they accused Ms. Russ Anderson of hiding or failing to escalate.

      More generally, the document accused the bank examiners who testified

against Ms. Russ Anderson of “untimely and ineffective supervision,”

“noncompliance with OCC guidance,” and maintaining “unclear supervisory

records.” App._[R.Exh.826_at_5, 10-11]. Ms. Russ Anderson was entitled to ask

the examiners who testified against her about their motivations and credibility.

      Second, the ALJ precluded all testimony about an email from OCC

Examiner-In-Charge Brad Linskens, in which he agreed with a 2016 article

describing the agency as “blindsided” by the public outcry related to SPM, and

OCC’s subsequent treatment of the Bank as “regulatory abuse.” App_[R.Exh.824].

“[T]he OCC and its head, Tom Curry, were embarrassed that they were blindsided
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by the Wells phony-accounts scandal. Now they’re getting even. It is an amazing

overreaction,” the article stated. Id. Why did examiner Linskens think this claim

“has merit”? Id. Ms. Russ Anderson was entitled to ask him.

      She was also entitled to OCC reports detailing the extent of SPM at peer

institutions to establish her conduct comported with the standard of care. The ALJ

denied her that opportunity, too. App._[A.R.46_at_4].

      Worse, the proceedings were infected by error from the start. Over Ms. Russ

Anderson’s objection, the ALJ summarily disposed of hundreds of disputed facts

without the “upon the record ... hearing” required by statute and the APA. 12

U.S.C. §1818(e)(4); 5 U.S.C. §554(a); App._[A.R.348]; Add.1-753;

App._[A.R.384_at_2] (“The Summary Disposition Order determined factual

claims presented in some of [EC’s] Statements of Material Fact.”). The ALJ left

only 18 factual issues for trial, App._[A.R.350], and categorically prohibited

Petitioner from addressing at the hearing the hundreds of facts he “resolved” on

paper, App._[A.R.353_at_4]; App._[A.R.384_at_2].

      The Comptroller effectively concedes this error: “The ALJ found that most

of Enforcement Counsel’s statements of material fact against Anderson were

undisputed and could be resolved against her at the summary disposition stage.”

App._[A.R.576_at_10, 119]; Add.1206, 1315. How can a fact be “undisputed,”



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and yet also “resolved against” a party? See also App._[A.R.576_at_121-22];

Add.1317-18 (ALJ “resolve[d] factual claims” on summary disposition).

      Even if summary disposition were allowed under a statute requiring an on-

the-record hearing—an open question—the ALJ’s blatant bias in resolving

disputed facts at the summary disposition stage denied Ms. Russ Anderson’s right

to a hearing. Quick v. Donaldson Co., Inc., 90 F.3d 1372, 1376-77 (8th Cir. 1996)

(“the court should not weigh the evidence, make credibility determinations, or

attempt to determine the truth of the matter” on summary judgment); Prestwick

Capital Mgt., Ltd. v. Peregrine Fin. Group, Inc., 727 F.3d 646, 663 (7th Cir. 2013)

(“summary judgment is not a paper trial”).

VII. Doubling the monetary penalty was unlawful.

      At a minimum the civil money penalty must be reduced. One year after the

proceeding had started and just months before the administrative hearing began,

OCC sought to double the penalty that had been proposed in the NOC to $10

million. App._[A.R.249_at_199]. This was thinly veiled retaliation for Ms. Russ

Anderson’s decision to defend herself. And it was unlawful.

      The OCC is authorized to “assess” a civil money penalty “by written

notice,” 12 U.S.C. §1818(i)(2)(E)(i), which the party may challenge within twenty

days. After a penalty has been assessed, OCC retains the authority to “compromise,

modify, or remit” the penalty. Id. §1818(i)(2)(F). The statutory text makes clear

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that an agency is not authorized to increase, let alone double, a penalty sought in

the notice midway through proceedings.

      First, the word “modify” means making “modest” changes. “The word

‘modify’—like a number of other English words employing the root ‘mod-’

(deriving from the Latin word for ‘measure’), such as ‘moderate,’ ‘modulate,’

‘modest,’ and ‘modicum’—has a connotation of increment or limitation.” MCI

Telecommunications Corp. v. Am. Tel. & Tel. Co., 512 U.S. 218, 225 (1994); id. at

228 (“‘Modify,’ in our view, connotes moderate change.”).

      Second, the agency can only modify the penalty downward. The word

“modify” is between two terms that give the agency power to remove penalties—

by “compromis[ing]” or “remit[ting]” them. The word modify takes on the

meaning of its associates. Yates v. United States, 574 U.S. 528, 543 (2015) (“[W]e

rely on the principle of noscitur a sociis—a word is known by the company it

keeps—to avoid ascribing to one word a meaning so broad that it is inconsistent

with its accompanying words, thus giving unintended breadth to the Acts of

Congress.”) (cleaned up); Iverson v. United States, 973 F.3d 843, 852 (8th Cir.

2020) (similar). The agency thus can remit the penalty entirely, compromise it for

settlement, or otherwise reduce it without compromising.

      The canon of constitutional avoidance further supports this interpretation. If

the statute allowed the agency to double (why not quadruple?) a penalty after the
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NOC, it would “make such a sweeping delegation of legislative power that it might

be unconstitutional.” Indus. Union Dep’t, AFL-CIO v. Am. Petroleum Inst., 448

U.S. 607, 646 (1980) (cleaned up). And it would violate due process, of which

notice is “[a]n essential principle.” Meier v. City of St. Louis, 78 F.4th 1052, 1058

(8th Cir. 2023). For notice to be effective, it must “provide[] an accurate picture of

what was at stake.” Brown v. Plaut, 131 F.3d 163, 172 (D.C. Cir. 1997); Vail v.

Derwinski, 946 F.2d 589, 594 (8th Cir. 1991).

      An interpretation that would risk violating the nondelegation doctrine and

due process should be avoided. “It is a bedrock principle of statutory interpretation

that ‘where a statute is susceptible of two constructions, by one of which grave and

doubtful constitutional questions arise and by the other of which such questions are

avoided, our duty is to adopt the latter.’” Union Pac. R. Co. v. U.S. Dep’t of

Homeland Sec., 738 F.3d 885, 892-93 (8th Cir. 2013) (quoting U.S. ex rel.

Attorney Gen. v. Del. & Hudson Co., 213 U.S. 366, 408 (1909)).

      Separately, this Court recognized in Oberstar v. FDIC that increasing a civil

penalty to punish someone for seeking judicial review “is deeply disturbing.” 987

F.2d 494, 503 (8th Cir. 1993) (Loken, J.). It is also unconstitutional. “To punish a

person because he has done what the law plainly allows him to do is a due process

violation of the most basic sort, and for an agent of the State to pursue a course of

action whose objective is to penalize a person’s reliance on his legal rights is
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‘patently unconstitutional.’” Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978)

(citations omitted). The increased penalty punished Ms. Russ Anderson for

exercising her constitutional right to a hearing. Bordenkircher, 434 U.S. at 363;

Dazzio v. FDIC, 970 F.2d 71, 79 (5th Cir. 1992) (increase in penalty looked

“uncomfortably like judicial vindictiveness”). The Court should not countenance

such unconstitutional retaliation.

      Finally, the penalty must be vacated or reduced because the agency did not

consider the statutory factors. As noted, OCC was required to consider Ms. Russ

Anderson’s “financial resources.” 12 U.S.C. §1818(i)(2)(G)(i). She provided sworn

testimony, supported by documentary evidence, that her net worth was just shy of

$5 million. App._[A.R.495 (Tr.9507:17-9508:20)]; supra note 1. The Comptroller

ignored this evidence and relied instead on his own speculation and extrapolation

from what he conceived as a “very high income for an extended period of time.”

App._[A.R.576_at_105]; Add.1301. That was an abuse of discretion if ever there

was one. 5 U.S.C. §706(2)(A).

      Moreover, even if Enforcement Counsel’s own assertions were correct—

which Ms. Russ Anderson denies—they speculated she earned a total income of

$22 million over twelve years in compensation and equity.

App._[A.R.249_at_204]. But even if that were true (and it is not), half of that

would go to state and federal taxes. She also had to live over that decade. How
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could the Comptroller justify a $10 million penalty even on his agency’s own

(unsupported) assumptions?

      The Court should vacate the penalty.

                                  CONCLUSION
      It is time to end Ms. Russ Anderson’s nearly decade-long nightmare. She

neither lied nor committed any “unsafe” or “unsound” practice. And the agency

never had constitutional authority to adjudicate her case. Its order should be

vacated.




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                       CERTIFICATE OF COMPLIANCE

      The undersigned certify that this Brief complies with the length and type-size

limitations under Federal Rule of Appellate Procedure 32(a). The Brief contains

12,995 words set in Times New Roman, a proportional font, type-size 14 point. The

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the Addendum have been scanned for viruses and are virus-free.


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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 20, 2025, I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Eighth Circuit

by using the CM/ECF system. I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.


                                   By: s/      Brett D. Kelley




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